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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF ILLINOIS



                                                                Bankruptcy Proceeding No. 18−30179−lkg
                                                                Chapter No.: 7
                                                                Judge: Laura K. Grandy
In re: Michael D Holcomb
            Debtor(s)

SSN/Individual Taxpayer ID Number (ITIN):

xxx−xx−8015




PLEASE TAKE NOTICE that a hearing will be held

                   at U.S. Bankruptcy Court, Melvin Price US Courthouse, 750 Missouri Ave,
                      East St Louis, IL 62201
                  on 8/25/20 at 09:00 AM

to consider and act upon the following:

        Motion for Contempt and/or Sanctions filed by Debtor Michael D Holcomb


Dated: July 31, 2020

DIRECT ALL COURT CORRESPONDENCE TO:                                               Donna N Beyersdorfer
U.S. BANKRUPTCY COURT                                                             Clerk, U.S. Bankruptcy Court
750 MISSOURI AVENUE
EAST ST. LOUIS, IL 62201



IF A PARTY FAILS TO APPEAR IN PERSON OR BY COUNSEL THE COURT MAY PROCEED WITH
THE SCHEDULED HEARING AND MAY ENTER AN APPROPRIATE ORDER OR JUDGMENT
INCLUDING DISMISSAL OF THE PENDING MATTER.



Carrying of firearms is prohibited. Section 65 of the Illinois Firearm Concealed Carry Act prohibits a concealed
carry license holder from carrying a firearm on or into any building/property under the control of a federal
government or the courts.

Hazardous road conditions may necessitate canceling scheduled hearings. When applicable contact the Bankruptcy
Clerk's office at (618) 482−9400.
